                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             NEWNAN DIVISION

E.F., a minor, by and through
LAQUARBASHAUN FORD, his mother,

         Plaintiffs,

vs.                                                CIVIL ACTION FILE NO:

TROUP COUNTY SCHOOL SYSTEM,
DAYID SHUMATE,
in his individual and official capacity,
and ALTON WHITE, in his individual
and official capacity,

         Defendants.

      DECLARATION OF E.F., A MINOR, IN SUPPORT OF PLAINTIFF'S
             MOTION FOR PRELIMINARY INJUNCTION

1. My name is E.F. I am seventeen years old and have been given pennission by

      my parent to give this declaration. I understand that this statement is given

      under oath, and I understand the seriousness of the need to tell the truth in this

      statement. I have the ability to observe, remember, and communicate what I

      have observed.

2. Until August 2019, I was a senior at LaGrange High School.

3. I am a rapper. I got into rap because I wanted to make money. I think music is

      my only shot to be really successful and be a millionaire. I know there are

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   plenty of ways to make money, but I feel like rap is the only thing I'm good at

   and I just want to rap. Making my music makes me happy. It makes me feel like

   I'm going somewhere. Ifl get big, I want to do extra stuff too, like be in

   movies, but even if I do that, I don't think I'll ever not be making music too.

   I've been making music seriously for almost one year now.

4. I collaborate with my neighborhood friend,~, [a minor] whose stage

   name is OTG Spazz (I call him Spazz). I've known him my whole life.

5. My stage name is Badazz Bastard. I chose my stage name because I didn't have

   a dad growing up. I never met him because he died 2 months after I was born.

   That's where "Bastard" comes from. I added "Badazz" because I feel like

   people look at me and think that I'm bad. It makes me feel misunderstood to be

   labeled as a bad kid by people who don't really know me, so that's why I put

   "Badazz" in my name.

6. Some of my favorite rappers are Lil Wayne, Post Malone, Youngboy Never

   Broke Again, and me, of course.

7. When I'm not in school, I book time in studios in LaGrange or Atlanta that

   advertise on Instagram. I freestyle to beats I find on Y ouTube. I don't rehearse

   or write my lyrics before I record them. Everything I say comes from my heart.




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   When I'm recording, I'm in what I call "rap mode." When it's time to rap,

   that's when I can show my feelings.

8. Ifl lay down a track that I really like, I make a music video out ofit. I heard

   about a guy called Orlando Cochran who shoots and edits music videos for a

   bunch of rappers in Georgia and Alabama. I hit Orlando up whenever I want to

   make a video. Sometimes my mom pays him and sometimes I do if I can afford

   it. I make money off of selling shirts and vinyl, but I pay to have it made so it's

   hard to turn a profit.

9. When I record a song or make a video that I think is good, I post it on

   Facebook, Instagram, and Snapchat. My friends share my music, too. If you

   want to make money as a rapper, you have to promote yourself and build up a

   fanbase. It's a process, and I'm trying to work on that process right now. Right

   now, I have two songs on Spotify and five songs on YouTube.

IO.My songs are inspired by what I see in my life. I'm an artistic type of person,

   and my lyrics and titles don't always mean what they say.

11.I have one song called "Long Live Niko" that is dedicated to my cousin. He

   died on December 23 and I miss him a lot.

12.I have another song called "Poverty." That song is about where I grew up and

   the people around me. The song has lyrics like "I'm a Northside baby, the only

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   thing you know the streets," and "we come from poverty everybody starving."

   I'm from the Northside of LaGrange, and I've seen a lot of stuff growing up

   there. The people around me don't have much. I grew up around street stuff: I

   had family who died and people were shot and killed right around the corner

   from my house. My mom was a single mom all my life, but I felt lucky that my

   mom always had me, our lights were never out, and we always had food on the

   table. It's more than a lot of the people I grew up around had. That's what that

   song is about.

13.There's another lyric in "Poverty" where I say "I swear to god I'm a monster."

   This is the kind of thing that the cops and the school take the wrong way and

   use to get me in trouble. That lyric was supposed to say that when it comes

   down to rapping and making money, I'm a beast, I'm the best at it. It's

   supposed to mean that I'm great. But people hear me say it and they think it

  means that I'm a monster, like a terrible person. They don't get what I'm

   saying; they explain it wrong. I think they want to catch me in the act of doing

   something, but they can't, because I just chill for real. So they look at my music

   for proof that I'm the kind of person they think I am.

14.The song that got me in trouble, "Consequences 2," is about how if you do

  something, something will happen because of your actions. An example is if

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   you do a crime - you'll go to jail. Your actions will have consequences - that's

   what that song is about.

15.Spazz and I came up with the concept for the "Consequences" video. I picked

   the location where we shot the video, on the Northside of LaGrange. I picked it

   because I grew up out there when I was little and I used to play around there.

   It's important to me because it's where I come from. All my videos are shot

   somewhere on the Northside because it's where I come from.

16.It was my idea to have a fake gun in the video. It is supposed to be a symbol for

   protection. The gun is a prop made of plastic. It doesn't fire. The prop is

   Orlando's; he has lots of little props and other things, like fake smoke, that he

  uses in his videos. I returned it to him when we finished shooting the video.

17.I don't have a real gun. No one in my house owns a real gun. I don't have any

   access to a firearm.

18.We shot the video in late June or early July. I told a bunch of friends ahead of

  time that we were making it and where to go if they wanted to be in it. It took

   about an hour to an hour and a half to get all the footage we needed. A fair and

   accurate recording of this video is attached as Exhibit 1.

19.Most of the signs I do in the video came from rappers. People in LaGrange

   started doing them to seem cool. I made an "N" for Northside, to show where I

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   come from. I made another sign in the video that looks like wiping your nose -

   that's supposed to mean "slime." "Slime" is local slang for stealing. I've seen

   kids of all races and from all over say slime.

20.I am not in a gang. I'm a solo person. My personality just isn't for being in a

   gang and I don't want to be. I don't know about whether there are gangs at

   LaGrange High. It makes me mad that someone would think I was in a gang,

   because it's just not true. It's just making assumptions.

21.After we finished shooting the video, Cochran took the raw footage to edit it.

   We got it back two weeks later, and posted it to YouTube immediately.

22. When I post a video, I usually post it on YouTube, and then share the You Tube

   link on Snapchat and Instagram. In my social media posts, I ask people to share

   the video to their social media. I did the same thing here. This is because I am

   trying to build up a fanbase as part of the process of making it big in rap.

23.I was in summer school when the video dropped, but I didn't show it to anyone

   at summer school. I never saw anyone at school looking at the video. So far as I

   know, no one watched the video on campus.

24.I don't know how Principal White or the assistant principals saw the video. I'm

   not friends with them on Facebook or any social media. None ofmy friends I

   go to school with are either.


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25.After the video came out, I went to summer school for another two weeks to

   finish my class. No one said anything to me during summer school about the

   video or it being a threat or dangerous.

26.1 didn't know anyone at the school knew about the video until August 13. I tried

   to go to LaGrange High to get my transcript updated so I could get enough

   credits to graduate. While I was there, Principal White took me into his office.

   He wouldn't say a word to me until the School Resource Officer, Officer

   Hamer, got there. He said they had seen the video over the summer when it first

   went online and that I would have to go through a tribunal.

27.1 was so angry when Principal White told me they were trying to expel me. I

   could barely say anything back to him, I was so mad. It felt fishy - like it

   wasn't about anything I'd done but more about me as a person. It felt like they

  just didn't want me in their school, and they were just using whatever they

   could find to get me out, but I want to go to school. I was excited to go back to

   LaGrange High, but now I feel like I'm not welcome there just because I made

   a video. I feel really misunderstood, like they didn't even try to understand

   what I was trying to say in my music. They just wanted me out of school.

   Period.




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28.I couldn't go to school at all when it started back up in the fall, because I was

   waiting for the tribunal.

29.I can barely remember the tribunal. All I remember was hearing their decision

   that I was expelled. I was so mad, I blacked out. It made me feel suicidal. I

   wanted to die. It made me feel like the world is racist and I got a lot more

   coming, like I never stood a chance.

30.The tribunal also made me feel like I shouldn't put out more music. I pay a lot

   of money for studio time, because I have something to say and a story to tell. I

   want to say what I want to say. But going through all this has made me feel like

   I shouldn't do it anymore, because it would just cause me more problems and

   get me into more trouble.

31.I haven't made any music since "Consequences 2." It makes me feel sad to not

   be making music, and it also slows my process down a lot. I can't promote my

   music or release new music because I'm worried about getting in trouble.

32.Before all this happened, I was on track to graduate high school on time with

   my class. I wanted to finish high school so I would be able to get a good job if

   my music doesn't work out. Ifl graduated high school, I know I could get some

   kind of job that would keep me stable. I want to help people, though my music

   or some other way. There isn't anything I can imagine myself doing that I

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   would love as much as I love rapping, but I know I would need a high school

   degree to do anything that even comes close.

33.I worked super hard at summer school to catch up to be able to graduate with

   my class. Now, I can't make music and I won't be able to graduate on time.

   Since I've been expelled, I've been sitting at home half the day and just

   wandering around or playing basketball for the rest of the day. I'm really bored.

   I want to finish high school and make it as a rapper and do the Northside proud.

   But going through this with the school has made me feel like everyone just

   wants me to fail.

34.I declare under penalty of perjury that the foregoing is true and correct.

             Executed this   J.Q_ day of October, 2019.




                                              E.F., a minor, Petitioner




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